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January 9, 2018

VIA ECF

Honorable Sandra Feuerstein
United States District Court
Eastern District of New York
100 Federal Plaza

Central Islip, NY 11722

Re: USA vy. Michael Schmeltzer
Docket No. 2017CR580

Dear Judge Feurstein:

I represent Michael Schmeltzer in connection with the above-referenced matter
and submit this letter in support of Mr. Schmeltzer’s request to travel to Manhattan, New
York on January 11, 2018 for personal reasons.

Assistant United States Attorney Bradley King, has offered the consent of the
government to this application.

Thank you for your assistance.
Very truly yours,
Jobn F. Carman
JOHN F. CARMAN
(JC- 7149)

JFC/as
